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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                                §      CASE NO. 16-34941-H1-13
                                                      §
Gustavo Giles-Flores                                  §      CHAPTER 13
                                                      §
                                                      §
DEBTOR(S)                                             §


                           DEBTOR'S CERTIFICATION,
                  MOTION FOR ENTRY OF CHAPTER 13 DISCHARGE,
                       AND PROPOSED DISCHARGE ORDER


         THIS MOTION SEEKS AN ORDER DISCHARGING THE DEBTOR(S)
         PURSUANT TO § 1328(a) OF THE BANKRUPTCY CODE. IF YOU
         OPPOSE THE MOTION, YOU MUST FILE AN OBJECTION WITHIN
         TWENTY-ONE (21) DAYS OF THE DATE LISTED BELOW IN THE
         CERTIFICATE OF SERVICE. YOUR OBJECTION MUST SET FORTH
         THE SPECIFIC FACTUAL ALLEGATIONS WITH WHICH YOU
         DISAGREE. IF NO TIMELY OBJECTION IS FILED, THE COURT MAY
         GRANT THE RELIEF.

         The Debtor(s) move for entry of a discharge under § 1328(a) of the Bankruptcy Code.

       1.      By signing below, the Debtor(s) certify under penalty of perjury under the laws of
the United States of America that the following statements are true and correct:

                A.    I have completed the personal financial management instructional course
                from an agency approved by the United States Trustee. A copy of Official
                Form 23 is attached.

                B.      If I owe a debt arising from (a) any violation of any state or federal
                securities laws, regulations or orders; (b) fraud, deceit or manipulation in a
                fiduciary capacity or in connection with the purchase or sale of any security; (c) a
                civil remedy under § 1964 of title 18; or (d) a criminal act, intentional tort, or
                willful or reckless misconduct that caused serious physical injury or death to
                another individual in the preceding 5 years, then I have not claimed an exemption
                for my residence in an amount in excess of $125,000.

                C.     All amounts payable by me on a domestic support obligation, that are due
                through this date (including amounts due before the petition was filed in this case,
                but only to the extent provided for by the plan) have been paid;
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       D.      I have not received a discharge in a case filed under chapter 7, 11 or 12 of
       the Bankruptcy Code during the four-year period before the date that my petition
       was filed in this case;

       E.       I have not received a discharge in a case filed under chapter 13 of the
       Bankruptcy Code during the two-year period before the date that my petition was
       filed in this case;

       F.      No criminal proceeding is pending against me alleging that I am guilty of
       a felony; and

       G.       No civil case is pending against me alleging that I am liable for any (a)
       violation of the Federal securities laws, any State securities law, or any regulation
       or order issued under Federal securities laws or State securities laws; (b) fraud,
       deceit or manipulation in a fiduciary capacity or in connection with the purchase
       or sale of any security; (c) civil remedy under § 1964 of title 18; or (d) criminal
       act, intentional tort, or willful or reckless misconduct that caused serious physical
       injury or death to another individual in the preceding 5 years.

2.     I have made all payments required by my confirmed chapter 13 plan.

Signed:

/s/ Gustavo Giles-Flores
Gustavo Giles-Flores                                 Date: November 16, 2023




                                             Respectfully submitted,

                                             Vasquez Law Group, PLLC
                                             2040 North Loop W #330
                                             Houston, Texas 77018
                                             (713) 622-8858
                                             Fax: (713) 987-3148


                                             By:     /s/ Regina M. Vasquez
                                                     Regina Vasquez SBN 24079268
                                                     ATTORNEYS FOR DEBTOR(S)
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                             CERTIFICATE OF SERVICE


        On November 16, 2023, a copy of this pleading was served on each of the persons
listed on the attached service list by (i) prepaid United States Mail; or (ii) electronic
service via the Court's ECF system.

Gustavo Giles-Flores &
8824 Bissonnet Street
Houston, Texas 77074




David G Peake                               United States Attorney
Chapter 13 Trustee                          District Counsel
9660 Hillcroft, Suite 430                   8701 S. Gessner, Suite 710
Houston, TX 77096-3856                      Houston, TX 77074

                                            United States Attorney
United States Trustee                       910 Travis, Suite 1500
515 Rusk, Suite 3516                        P.O. Box 61129
Houston, TX 77002                           Houston, TX 77208

Internal Revenue Service                    United States Attorney General
1919 Smith Street                           United States Department of Justice
Stop 5024HOU                                Room D327
Houston, TX 77002                           10th & Constitution Avenue, N.W.
                                            Washington, D.C. 20530
Internal Revenue Service
P.O. Box 21126
Philadelphia, PA 21126




                                                   /s/ Regina M. Vasquez
                                                   Regina M. Vasquez
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Label Matrix for local noticing               Harris County                           Recovery Management Systems Corporation
0541-4                                        c/o John P. Dillman                     25 S.E. 2nd Avenue
Case 16-34941                                 Post Office Box 3064                    Suite 1120
Southern District of Texas                    Houston, TX 77253-3064                  Miami, FL 33131-1605
Houston
Thu Nov 16 08:19:08 CST 2023
Santander Consumer USA Inc., an assignee of   4                                       Bank Of America
1027 Ninth Street                             United States Bankruptcy Court          NC4-105-03-14
New Orleans, LA 70115-2308                    PO Box 61010                            PO Box 26012
                                              Houston, TX 77208-1010                  Greensboro, NC 27420-6012


Braeburn Plaza, Inc                           Capital One                             Cavalry SPV I, LLC
P.O. Box 710751                               PO Box 30285                            500 Summit Lake Drive, Ste 400
Houston, TX 77271-0751                        Salt Lake City, UT 84130-0285           Valhalla, NY 10595-2321



Centralized Insolvency Operation              (p)JPMORGAN CHASE BANK N A              Citibank/The Home Depot
Post Office Box 7346                          BANKRUPTCY MAIL INTAKE TEAM             Citicorp Cr Srvs/Centralized Bankruptcy
Philadelphia, PA 19101-7346                   700 KANSAS LANE FLOOR 01                PO Box 790040
                                              MONROE LA 71203-4774                    S Louis, MO 63179-0040


Harris County Tax Office                      Harris County et al                     INTERNAL REVENUE SERVICE
P.O. Box 3547                                 c/o John P. Dillman                     P O Box 7346
Houston, Texas 77253-3547                     Linebarger Goggan Blair & Sampson LLP   Philadelphia PA 19101-7346
                                              P.O. Box 3064
                                              Houston, Tx. 77253-3064

(p)INTERNAL REVENUE SERVICE                   Internal Revenue Service                John & Mary Kunthara
CENTRALIZED INSOLVENCY OPERATIONS             Centralized Insolvency Operation        2947 Oak Pointe Blvd.
PO BOX 7346                                   PO Box 7346                             Missouri City, TX 77459-4671
PHILADELPHIA PA 19101-7346                    Philadelphia, PA 19101-7346


Kia Motors Finance Co                         Merrick Bank/Geico Card                 Roger T Yokubaitis, PLLC
PO Box 20825                                  PO Box 23356                            8303 Ivan Reid Dr.
Fountain Valley, CA 92728-0825                Pittsburg, PA 15222-6356                Houston, Texas 77040-1508



Santander Consumer USA                        Santander Consumer USA                  Synchrony Bank/Howards
PO BOX 560284                                 PO Box 961245                           PO Box 965064
Dallas, Texas 75356-0284                      Ft Worth, TX 76161-0244                 Orlando, FL 32896-5064



Target                                        US Trustee                              Vasquez Law Group, PLLC
C/O Financial & Retail Services               Office of the US Trustee                701 N. Post Oak Dr., Ste 655
Mailstop BT PO Box 9475                       515 Rusk Ave                            Houston, TX 77024-3885
Minneapolis, MN 55440-9475                    Ste 3516
                                              Houston, TX 77002-2604

David Peake                                   Gustavo Giles-Flores                    Regina Marie Vasquez
Chapter 13 Trustee                            8824 Bissonnet Street                   Vasquez Law Group, PLLC
9660 Hillcroft                                Houston, TX 77074-2402                  2040 North Loop W
Suite 430                                                                             Suite 330
Houston, TX 77096-3860                                                                77018
                                                                                      Houston, TX 77018-8127
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                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                    Internal Revenue Service                             (d)Internal Revenue Service
Attn: Correspondence Dept                              1919 Smith St.                                       P.O. Box 21126
PO Box 15298                                           Stop 5022 HOU                                        Philadelphia, PA 19114
Wilmingotn, DE 19850                                   Houston, TX 77002




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Braeburn Plaza, Inc.                                (d)John and Mary Kunthara                            (d)Recovery Management Systems Corporation
                                                       2947 Oak Pointe Blvd.                                25 S.E. 2nd Avenue, Suite 1120
                                                       Missouri City, TX 77459-4671                         Miami, FL 33131-1605



(u)John Kunthara                                       End of Label Matrix
                                                       Mailable recipients    29
                                                       Bypassed recipients     4
                                                       Total                  33
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B 23 (Official Form 23) (12/08)

                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

In re:    Gustavo Giles-Flores                                          Case No.             16-34941-H1-13


          Debtor(s)                                                     Chapter              13

   DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL COURSE
                   CONCERNING PERSONAL FINANCIAL MANAGEMENT
Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file this certification. If a
joint petition is filed, each spouse must complete and file a separate certification. Complete one of the following statements and file
by the deadline stated below:

            I, Gustavo Giles-Flores           , the debtor in the above-styled case, hereby certify that on
11/2/2016          (Date), I completed an instructional course in personal financial management provided by
Consumer Education Services, Inc., DBA Start Fresh Today/DBA Affordable Bankruptcy Course, an approved
personal financial management provider.


Certificate No. (if any):      05041-TXS-DE-028309458


            I,                                      , the debtor in the above-styled case, hereby certify that no
personal financial management course is required because of [Check the appropriate box.]:

                        Incapacity or disability, as defined in 11 U.S.C. § 109(h);

                        Active military duty in a military combat zone; or

                        Residence in a district in which the United States trustee (or bankruptcy administrator) has

                    determined that the approved instructional courses are not adequate at this time to serve the

                    additional individuals who would otherwise be required to complete such courses.


Signature of Debtor: /s/ Gustavo Giles-Flores

Date:     November 16, 2023
____________________________________________________________________________________________

          Instructions: Use this form only to certify whether you completed a course in personal financial
management. (Fed. R. Bankr. P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your
prepetition credit counseling provider and do NOT include with the petition when filing your case.

         Filing Deadlines: In a chapter 7 case, file within 45 days of the first date set for the meeting of creditors
under § 341 of the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the
debtor as required by the plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the
Code. (See Fed. R. Bankr. P. 1007(c).)
        Case
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             16-34941 Document
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                                       Certificate Number: 05041-TXS-DE-028309458
                                       Bankruptcy Case Number: 16-34941


                                                      05041-TXS-DE-028309458




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on November 2, 2016, at 9:00 o'clock AM CDT, GUSTAVO
GILES-FLORES completed a course on personal financial management given in
person by David G. Peake, Chapter 13 Standing Trustee, a provider approved
pursuant to 11 U.S.C. § 111 to provide an instructional course concerning
personal financial management in the Southern District of Texas.




Date:   November 4, 2016               By:      /s/Michael Johnson


                                       Name: Michael Johnson


                                       Title:   Debtor Education Coordinator - Floor Supervisor
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B 283 (Official Form 283) (12/08)

                                        IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

In re:     Gustavo Giles-Flores                                             Case No.              16-34941-H1-13



           Debtor(s)                                                        Chapter               13

                                 CHAPTER 13 DEBTOR'S CERTIFICATIONS REGARDING
                                DOMESTIC SUPPORT OBLIGATIONS AND SECTION 522(q)

Part I.    Certification Regarding Domestic Support Obligations (check no more than one)

           Pursuant to 11 U.S.C. Section 1328(a), I certify that:

                      I owed no domestic support obligation when I filed my bankruptcy petition, and I have not been
                     required to pay any such obligation since then.

                      I am or have been required to pay a domestic support obligation. I have paid all such amounts
                     that my chapter 13 plan required me to pay. I have also paid all such amounts that became due
                     between the filing of my bankruptcy petition and today.

Part II.   If you checked the second box, you must provide the information below.

           My current address:

           My current employer and my employer's address:


Part III. Certification Regarding Section 522(q) (check no more than one)

           Pursuant to 11 U.S.C. Section 1328(h), I certify that:

                     I have not claimed an exemption pursuant to § 522(b)(3) and state or local law (1) in property that I
                     or a dependent of mine uses as a residence, claims as a homestead, or acquired as a burial plot,
                     as specified in § 522(p)(1), and (2) that exceeds $136,875* in value in the aggregate.

                     I have claimed an exemption in property pursuant to § 522(b)(3) and state or local law (1) that I or
                     a dependent of mine uses as a residence, claims as a homestead, or acquired as a burial plot, as
                     specified in § 522(p)(1), and (2) that exceeds $136,875* in value in the aggregate.

Part IV. Debtor's Signature

         I certify under penalty of perjury that the information provided in these certifications is true and correct to
the best of my knowledge and belief.

Executed on November 16, 2023                         /s/ Gustavo Giles-Flores
                                                      Gustavo Giles-Flores




*Amounts are subject to adjustment on 4/1/10 and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.
